Case 8:08-cr-00252-JSM-TBM Document 92 Filed 03/24/09 Page 1 of 6 PageID 204
Case 8:08-cr-00252-JSM-TBM Document 92 Filed 03/24/09 Page 2 of 6 PageID 205
Case 8:08-cr-00252-JSM-TBM Document 92 Filed 03/24/09 Page 3 of 6 PageID 206
Case 8:08-cr-00252-JSM-TBM Document 92 Filed 03/24/09 Page 4 of 6 PageID 207
Case 8:08-cr-00252-JSM-TBM Document 92 Filed 03/24/09 Page 5 of 6 PageID 208
Case 8:08-cr-00252-JSM-TBM Document 92 Filed 03/24/09 Page 6 of 6 PageID 209
